             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 4:94-cr-00044-MR-7


UNITED STATES OF AMERICA,       )
                                )
                  Plaintiff,    )
                                )
         vs.                    )                    ORDER
                                )
                                )
RODDRICK KEMTRELL McDONALD, )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court upon the Defendant’s “Motion to

Terminate   Supervised    Release   After    Completion       of     One-Year    of

Supervision Pursuant to Title 18 U.S.C. § 3583(e)(1)” [Doc. 686].

     On January 31, 1995, the Defendant was found guilty by a jury of

conspiracy to possess with intent to distribute cocaine and cocaine base,

as well as various related counts. The Defendant was sentenced on March

26, 1996, to 292 months of imprisonment, followed by five (5) years of

supervised release. [Judgment, Doc. 129].

     The Defendant now moves the Court to exercise its discretion and

terminate his term of supervised release pursuant to 18 U.S.C. §

3583(e)(1). [Doc. 686].


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        In order to terminate a defendant’s term of supervised release, the

Court must be “satisfied that such action is warranted by the conduct of the

defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1). In

the present case, the Defendant served a lengthy prison sentence and was

given a supervised release term of five years. To date, the Defendant has

completed only one year of supervised release. Given the relatively short

time he has been on supervised release, the Court declines to exercise its

discretion to terminate the Defendant’s term of supervised release at this

time.

        Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

“Motion to Terminate Supervised Release After Completion of One-Year of

Supervision Pursuant to Title 18 U.S.C. § 3583(e)(1)” [Doc. 686] is

DENIED. The Defendant’s term of supervised release shall continue as

originally sentenced.

        The Clerk is directed to serve a copy of this Order on the Defendant,

counsel for the Government, and the United States Probation Office.

        IT IS SO ORDERED.
                                   Signed: September 5, 2014




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